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                            Exhibit 54
      Case 0:17-cv-60426-UU
2/20/2018                                       Document XBT
                                                          212-56
                                                             Holding ÑEntered
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                                                                                    Ñ |Ñcomnews


 ComNews Conferences            | ComNews в                |                                    | Стандарт | Кто есть кто | Цифровая трансформация. Лу




                                                                                                                                             ........................................   Поиск

                                                                                                       Подписка на новости | Реклама | Письмо в редакцию | О нас | About us


                                                                                                      ЦБ РФ: USD 56.52      EUR 69.89          21 февраля 2018 года, Ср
 НОВОСТИ ЦИФРОВОЙ ТРАНСФОРМАЦИИ, ТЕЛЕКОММУНИКАЦИЙ, ВЕЩАНИЯ и ИТ


 Новости         |   Редколонка     |   Точка зрения       |     В фокусе         |    Цитата дня     |   Конференции / выставки               |      Авторы


 ОПЕРАТОРЫ
 СЕРВИСЫ
 МЕДИА
 ТЕХНОЛОГИИ
 IoT
 РЕГУЛИРОВАНИЕ
                     COMNEWS | НОВОСТИ | 2016 | ФЕВРАЛЬ                                                                                     Редколонка
 ФИНАНСЫ             РУБРИКИ: Оборудование • Экспансия • Дата-центры • Cloud, виртуализация • В мире
 РИТЕЙЛ                                                                                                                                     Ставка на хромую
                                                                                                                                            лошадь
 РЕГИОНЫ / СНГ
 КАДРЫ
                     XBT Holding укоренился в Москве                                                                                        Леонид Коник,
                                                                                                                                            главный редактор группы
 ИКТ В ТЭК                                                                                                                                  компаний ComNews
                     Елизавета Титаренко
                     © ComNews
                     09.02.2016                                                                                                             В преддверии очередного
                                                                                                                                            Всемирного мобильного конгресса
                                                               Подпишись на новости ComNews!                                                в Барселоне разработчики
                                                                главные новости ИКТ в твоей почте                                           основных технологий Интернета
                                                                                                                                            вещей (IoT) отчитались об итогах
                                                                                                                                   OK       2017 года. Судя по динамике,
                                                                                                                                            альтернативные игроки пока
                                                                                                                                            опережают линейку IoT-технологи
                                                                                                                    [0   , -0   , +1    ]   3GPP, ранее создавшего стандарты
                                                                                                                                            3G/UMTS и LTE. Однако Россия
                                                                                                                                            официально выступила на стороне
                     Хостинг-провайдер Servers.ru, дочерняя компания международного XBT Holding, открыла первый                             3GPP, на уровне ГКРЧ поддержав
                     центр обработки данных (ЦОД) на территории России. Servers.ru предлагает клиентам мощности                             одну из его IoT-технологий - NB-
                     выделенных серверов, сервисы облачной обработки и хранения данных. Игроки отрасли                                      IoT. ...
                     положительно оценивают появление новой компании на рынке. Это увеличит информированность
                     потенциальных клиентов о преимуществах услуг коммерческих дата-центров, к которым часть                                Точка зрения
                     компаний пока относятся с недоверием.

                     Напомним, в августе 2015 г. XBT Holding S.A., в лице хостинг-провайдера Servers.com, приобрел ООО "Единая              Connectivity как
                     сеть" (бренд Exepto), чтобы запустить локальные версии сервисов XBT с соблюдением законодательных норм                 основа цифровой
                                                                                                                                            экономики
                     России. Сумма сделки составила $800 тыс. "Exepto станет фундаментом развития международного потенциала
                                                                                                                                            Елена Полякова, директор
                     на российском рынке, - говорил тогда генеральный директор XBT Holding Алексей Губарев. - Эта сделка                    по развитию бизнеса
                     позволит запустить наш продукт Servers.com в России под брендом Servers.ru", - отмечал он. ООО "Единая сеть"           в государственном
                                                                                                                                            сегменте и специальным
                     предоставляет услуги связи, а также услуги дата-центра (см. новость ComNews от 31 августа 2015 г.).                    проектам Северо-
                                                                                                                                            Западного филиала
                     В Москве компания запустила проект под брендом Servers.ru. Дата-центр включает 20 стоек и 500 серверов                 "МегаФона"
                     фирмы Dell. "Мы сотрудничаем с DataPro и арендуем у них площадку для ЦОДа, так как они обеспечивают
                                                                                                                                            В ноябре 2017 года исполнилось
                     комплексную безопасность и отсутствие ограничений по мощности", - рассказал корреспонденту ComNews                     пять лет B2G-сегменту бизнеса
                     заместитель генерального директора Servers.ru Николай Двас. Первоначальные инвестиции в оборудование на                ПАО "МегаФон". В интервью
                     запуск составили $1,5 млн. Выходить в другие регионы РФ компания пока не планирует.                                    главному редактору "Стандарта"
                                                                                                                                            Леониду Конику директор по
                     Servers.com - создатель хостинг-платформы, основанной на высокоскоростных сетевых решениях. Servers.com                развитию бизнеса в
                     предлагает услуги автоматизированного хостинга премиального уровня для малого и среднего бизнеса. "В                   государственном сегменте и
                                                                                                                                            специальным проектам Северо-
                     данный момент мы работаем над мировой доступностью нашей платформы. При этом мы не просто делаем ее                    Западного филиала "МегаФона"
                     ближе к конечному потребителю, но и размещаем в стратегически важных правовых зонах - в США,                           Елена Полякова рассказала о том,
                     Нидерландах, Люксембурге, России и через несколько месяцев - в Сингапуре и Индии", - подчеркнул Алексей                как начиналась эта деятельность в
                                                                                                                                            компании ...
                     Губарев.

                     Серверы московского ЦОДа будут объединены в приватную сеть вместе с серверами, расположенными в
                     Далласе, Амстердаме и Люксембурге. Скорость подключения каждого сервера к этой сети составляет до 20
                     Гбит/с, вместе с выделенными и облачными серверами. Причем российские потребители будут платить в рублях
                     за пользование услугами мощностей, расположенных по всему миру и объединенных в единую
                     нетарифицируемую сеть.

                     В числе услуг, которые оказывает провайдер, - мощности выделенных серверов, сервисы облачной обработки и
                     хранения данных. Целевая аудитория Servers.ru - бизнес, связанный с Big data, технологиями в рекламе
                     (AdTech), с компьютерными и мобильными играми, с финансовым сектором, а также с e-Commerce. "Наши
                     клиенты - это глобальные компании, которые хотят быть ближе к клиентам в России, и российские компании,
                     которых привлекают возможности партнерства с международным хостером. И те, и другие уже переносят
                     мощности в российский дата-центр Servers.ru", - говорит Николай Двас. Он уточнил, что на момент запуска
                     дата-центра его емкости были заполнены на 20%. "До конца года планируем вырасти в пять раз", - отметил он.

                     По словам Алексея Губарева, уникальность предложения Servers.ru для российского рынка заключается в том,
                     что провайдер предоставляет подключения с полосой пропускания до 1 Гб бесплатно для каждого сервера без
                                                                                                                                                   P -F000270
http://www.comnews.ru/node/99670                                                                                                                                                           1/2
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                       ограничения трафика, а также дает совокупную скорость до 40 Гбит/с. "Мы не даем долгосрочных гарантий, но
                       будем поддерживать это предложение для новых клиентов до тех пор, пока нам это позволяет экономическая
                       конъюнктура", - пояснил Николай Двас.

                       Представители Servers.ru отмечают, что конкуренция на российском рынке услуг дата-центров высокая, но
                       рынок еще очень далек от заполнения. "Мы планируем занять на нем заметное место", - отметил Николай Двас,
                       подчеркнув, что закон о хранении персональных данных россиян на территории РФ поможет этому рынку
                       развиваться.

                       Руководитель сети дата-центров компании КРОК Павел Колмычек говорит, что его компания приветствует
                       появление на рынке новых игроков. "Это позволяет нам еще шире продвигать нашу экспертизу. Дело в том, что                          Сейчас обсуждают
                       многие заказчики до сих пор с недоверием относятся к использованию внешних ресурсов по аутсорсинговой
                       модели, предпочитая самостоятельно строить ЦОДы. Выход на рынок новых провайдеров, мы надеемся,                                    [ 4 ] Татьяна Гладюк займется
                       увеличит информированность о преимуществах услуг коммерческих дата-центров. Тем легче можно будет                                  персоналом МГТС
                       преодолеть скепсис "традиционалистов", - рассуждает он.
                                                                                                                                                          [ 271 ] На арест Владимира Сачков
                       По данным аналитического агентства "IDC Россия", в 2014 г. рынок коммерческих ЦОДов в России пережил
                                                                                                                                                          пожаловались в ЕСПЧ
                       незначительное падение выручки, которое продолжилось в 2015 г. Однако в 2016-2017 гг. выручка операторов
                       начнет увеличиваться и до конца 2019 г. будет расти двузначными темпами. "Вопреки сложной экономической                            [ 2 ] "Ростелеком" узнает в лицо
                       ситуации и сокращению капиталовложений в стране, российский рынок центров обработки данных продолжает                              и по голосу
                       обладать большой инвестиционной привлекательностью и расти быстрыми темпами", - считает старший
                       аналитик "IDC Россия" Михаил Попов. По его прогнозам, на рынок будут выходить новые участники, доступных                           [ 1 ] Воздушная дилемма
                       площадей станет больше. "Появятся новые предложения, но спрос на услуги центров обработки данных
                                                                                                                                                          [ 2 ] Леонид Голованов возглави
                       останется неудовлетворенным", - резюмировал он.
                                                                                                                                                          подразделение "Манго Телеком"
                                                                            Досье ComNews

                       Servers.com - дочернее предприятие XBT Holding S.A. - автоматизированная хостинговая платформа с широким
                       спектром выделенных и облачных серверов. Компания Servers.com предоставляет услуги клиентам с мая 2015 г.

                       XBT Holding S.A. - международный холдинг, с 2005 г. комплексно оказывающий услуги для ИT-инфраструктуры
                       и разрабатывающий эффективные сетевые решения для клиентов во всем мире. XBT Holding S.A. обладает
                       пятью дата-центрами, 13 точками присутствия, 20 тыс. серверов и является участником 14 систем обмена
                       трафиком по всему миру.



                                                                       Подпишись на новости ComNews!
                                                                        главные новости ИКТ в твоей почте

                                                                                                                                                     OK



                          Версия для                Ñ Ñ Ñ Ñ Ñ Ñ Ñ2 Ñ        ÑÑÑÑÑÑ
                                                                                 2Ñ                           ÑÑ Ñ Ñ Ñ Ñ       Like      +1
                          печати




                       СТАТЬИ ПО ТЕМЕ

                         31.08.2015    XBT Holding S.A. приобрел российского оператора Exepto



                        Обсуждение [0       , -0   , +1    ]   Добавить комментарий




   При использовании материалов         НОВОСТИ                                                                                       РЕДКОЛОНКА                 ЦИФРОВАЯ ЭКОНОМИКА
   ссылка на ComNews обязательна.       Операторы                        IoT                           Регулирование
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                                        Спутниковая связь                Технопарки                    Ритейл
                                        Почтовая связь                   Венчурные проекты                                            ВОПРОС НЕДЕЛИ              Цифровая трансформация.
   Свидетельство о регистрации СМИ                                                                     Федеральные сети                                          Кто есть кто
                                        ШПД                              Электроника
   от 8 декабря 2006 г.                                                                                Региональные сети              КОНФЕРЕНЦИИ / ВЫСТАВКИ
   Эл № ФC 77-26395                     Сервисы                          Отраслевые стандарты          Гаджеты                                                   Цифровая трансформация.
                                        Аутсорсинг                       Финансы                       Регионы / СНГ                  ВИДЕОИНТЕРВЬЮ              Лучшие практики
   Реклама
                                        Дата-центры                      M&A
   Письмо в редакцию                    Колл-центры                                                    Экспансия                      АВТОРЫ                     АРХИВ COMNEWS.RU
                                                                         Криптовалюта                  Регионы
                                        ВКС                              Фондовый рынок
   О нас                                                                                               Страны Балтии                  ОПРОВЕРЖЕНИЯ               АРХИВ ПРОЕКТОВ
                                        Cloud, виртуализация             Финансовые отчеты
   About us                             Электронная коммерция                                          СНГ
                                                                         Инвестиции                    В мире                         WEEKEND                    НОВОСТИ КОМПАНИЙ
                                        Информационная безопасность      Конкурсы / тендеры
                                        Интеграция                                                     Кадры                          ФОРУМ
                                        Электронные госуслуги                                          Назначения, Отставки,
                                        Медиа                                                          Дни рождения                   КУРСЫ ВАЛЮТ
                                                                                                       Компенсации и премии
                                        ТВ-контент                                                                                    MNP В РОССИИ
                                        Интернет-медиа                                                 ИКТ в ТЭК
                                        Мобильный контент                                                                             МVNE от МТТ

                                                                                                                                      20 ЛЕТ НТВ-ПЛЮС




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   Target

   PG01

   XBT Holding takes root in Moscow

   Elizaveta Titarenko

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   02/09/2016

   Hosting provider Servers.ru, a subsidiary of international XBT Holding, has opened the first data
   processing center (data center) in Russia. Servers.ru offers customers the power of dedicated servers,
   cloud processing and data storage services. Industry players view positively the emergence of a new
   company on the market. This will increase the awareness of potential customers on the benefits of
   commercial data center services, to which some companies are still distrustful.

   It is worth mentioning that in August 2015, XBT Holding S,A,, under the name of hosting provider
   Servers.com, purchased Unified Network, LLC (Exepto brand) to launch local versions of XBT services in
   compliance with Russian legislation. The deal amounted to $800 thousand. "Exepto will become the
   foundation for the development of international potential on the Russian market," Alexey Gubarev, CEO
   of XBT Holding, said at the time. "This transaction will launch our Servers.com product in Russia under
   the Servers.ru brand," he noted. Unified Network, LLC renders communication services, as well as data
   center services (see news ComNews dated August 31, 2015).

   In Moscow, the company launched the project under the Servers.ru brand. The data center includes 20
   racks and 500 Dell servers. "We cooperate with DataPro and rent their site for our data center because
   they provide comprehensive security and do not have capacity limitations," Nikolai Dvas, Deputy
   Director General of Servers.ru, told ComNews. Initial investment in equipment for the launch amounted
   to $1.5 million. The company does not plan to enter other regions of the Russian Federation yet.

   Servers.com is the creator of a hosting platform based on high-speed network solutions. Servers.com
   offers automated premium hosting services for small and medium-sized businesses. "At the moment we
   are working on the global availability of our platform. And also, we are not just making it more available
   to the final consumer, but we are also placing it in strategically important legal zones - in the USA, the
   Netherlands, Luxembourg, Russia and in a few months, in Singapore and India," Alexey Gubarev said.

   The servers of the Moscow Data Center will be integrated into a private network together with servers
   located in Dallas, Amsterdam and Luxembourg. The speed of each server connection to this network is
   up to 20 Gb/s, along with dedicated and cloud servers. And Russian consumers will pay in rubles for
   using capacities located all over the world and which are unified in an uncharged network.

   Among the services rendered by the provider are the capacities of dedicated servers, cloud processing
   and data storage services. The target audience of Servers.ru consist of businesses connected with Big
   data, advertising technologies (AdTech), computer and mobile games, the financial sector, as well as e-
   Commerce. "Our customers are global companies that want to be closer to customers in Russia, and
   Russian companies that are attracted by partnership opportunities with international hosting sites. Both
   of them already have transfer capacities to the Russian Data Center Servers.ru," Nikolai Dvas says. He
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   specified that at the time of the data center launch, its capacities were filled by 20%. "We plan to grow
   fivefold by the end of the year" he said.

   According to Aleksei Gubarev, the uniqueness that Servers.ru's offer for the Russian market is that it
   provides connections with a bandwidth of up to 1 GB, free of charge for each server without traffic
   restrictions, and also an aggregate speed of up to 40 Gbit/ s. "We do not give long-term guarantees, but
   we will support this offer for new customers as long as the economic situation allows," Nikolai Dvas
   explained.

   Representatives of Servers.ru note that the competition on the Russian market of data center services is
   high, but the market is still very far from being filled-up. "We plan to occupy a prominent place," Nikolai
   Dvas noted, stressing that the law on storing Russian citizen’s personal data within the Russian
   Federation will help this market develop.

   The head of the KROK company data centers, Pavel Kolmychek said that his company welcomes new
   players to the market. "This allows us to further promote our expertise. The fact is that many customers
   still distrust the use of external resources as an outsourcing model, preferring to build data centers
   independently. We hope that new providers entering the market will increase awareness of the
   advantages of commercial data center services. It will be easier to overcome the skepticism of
   "traditionalists" he argues.

   According to the analytical agency IDC Russia, in 2014 the market for commercial data centers in Russia
   experienced a insignificant drop in revenues, which continued in 2015. However, in 2016-2017, the
   operator revenues will start to increase and by the end of 2019 it will grow at double-digit rates.
   "Contrary to the difficult economic situation and the reduction of investments in the country, the
   Russian data center market continues to have a great investment appeal and is growing at a fast pace,"
   said Mikhail Popov, senior analyst at IDC Russia. According to his forecasts, new participants will enter
   the market, and there will be more available space. "There will be new proposals, but the demand for
   data center services will remain unsatisfied," he concluded.



   ComNews dossier



   Servers.com is a subsidiary of XBT Holding S.A., an automated hosting platform with a wide range of
   dedicated and cloud servers. Servers.com has been providing services to customers since May 2015.

   XBT Holding S.A. is an international holding company that has been providing comprehensive services
   for IT infrastructures, developing effective network solutions for customers all over the world since
   2005. XBT Holding S.A. has five data centers, 13 regional branches, 20 thousand servers and participates
   in 14 worldwide traffic exchange systems.

   http://www.comnews.ru/node/99670
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